1/15/2021             Case 1:20-cr-00206-RDM DocumentRCN
                                                      56-1  Filed 01/15/21 Page 1 of 1
                                                         Webmail


   RCN Webmail                                                                        rssjrg@rcn.com


     Fwd: Activity in Case 1:20-cr-00206-RDM USA v. GILES, et al Order on Motion for
     Bond



            From : Mondo Brooks <mondobrooks51@gmail.com>                  Fri, Jan 15, 2021 03:18 PM
     Subject : Fwd: Activity in Case 1:20-cr-00206-RDM USA v. GILES, et
               al Order on Motion for Bond
              To : rssjrg@rcn.com

      Good morning,

      This email is in compliance with the order of the honorable Judge Moss to report weekly. This
      week to the best of my knowledge under the penalty of perjury, Mondo Brooks Jr. is in
      compliance with every aspect of the Court’s order and any other conditions imposed by pretrial
      services. He has worked all available days this week. He also has worked with me in Baltimore
      on the rehab housing projects

      Respectfully Submitted,

      Mondo Brooks Sr.
      202.812.8131




https://mail.rcn.com/h/printmessage?id=595343&1                                                         1/1
